
16 N.Y.2d 576 (1965)
The People of the State of New York, Respondent,
v.
Anthony Valenti, Appellant.
The People of the State of New York, Respondent,
v.
Dominick Campagne, Appellant.
Court of Appeals of the State of New York.
Argued April 19, 1965.
Decided May 20, 1965.
Maurice Edelbaum for Dominick Campagne, appellant.
William Sonenshine for Anthony Valenti, appellant.
Aaron E. Koota, District Attorney (William I. Siegel of counsel), for respondent.
Concur: Judges FULD, VAN VOORHIS, SCILEPPI and BERGAN. Chief Judge DESMOND and Judges DYE and BURKE dissent and vote to reverse the judgments and order a new trial upon the dissenting opinion at the Appellate Division.
Judgments affirmed; no opinion.
